 1   LANE & NACH, P.C.
     2001 East Campbell Avenue, Suite 103
 2   Phoenix, Arizona 85016
     Telephone No.: (602) 258-6000
 3   Facsimile No.: (602) 258-6003
     Adam B. Nach – 013622
 4   Email: adam.nach@lane-nach.com

 5   Attorneys for Stanley J. Kartchner, Trustee
 6                               IN THE UNITED STATES BANKRUPTCY COURT
 7                                     FOR THE DISTRICT OF ARIZONA
 8    In re:                                               (Chapter 7 Case)
 9    RENE R. GARCIA,                                      No. 4:14-bk-03635-SHG
10                                                         FINAL APPLICATION FOR PAYMENT
                       Debtor.                             OF ATTORNEYS' FEES AND COSTS
11                                                         AND REQUEST FOR NOTICING
                                                           THROUGH TRUSTEE'S FINAL REPORT
12

13   I.        GENERAL INFORMATION.

14             Lane & Nach, P.C., (hereinafter “Attorney”), counsel for Stanley J. Kartchner, Chapter 7 Trustee

15   in the above-captioned case (hereinafter "Trustee") makes its Final Application for Payment of Attorneys’

16   Fees and Costs and Request for Noticing Through Trustee’s Final Report (“Application”). In support of

17   its Application, Attorney submits its billing statements for the period of August 31, 2020 through March

18   21, 2022, which are attached hereto and incorporated herein. In further support of its Application, Attorney

19   respectfully represents as follows:

20   II.       NARRATIVE SUMMARY.

21             A.     Background.

22                    1. This case was commenced by voluntary petition filed on or about March 18, 2014.

23   Thereafter, Stanley J. Kartchner was appointed Trustee.

24                    2. Attorney's employment as counsel for the Trustee was approved by Order of this Court

25   dated August 31, 2020.

26                    3. Attorney has expended in excess of 31.40 hours in its representation of the Trustee.

27   Based upon Attorney's ordinary hourly rates in effect at the time said services were rendered, Attorney's

28   total fees are $8,136.00. In addition, Attorney has incurred out-of-pocket expenses for which it is seeking


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 1   reimbursement in the sum of $5.40. The blended hourly rate is $325.00. The total amount sought by
 2   Attorney is as follows:
 3                 Total Fees                                 $8,136.00
                   Total Costs                                $5.40
 4                 Total                                      $8,141.40
 5                   4. The services for which compensation is requested were rendered on behalf of the
 6   Trustee and compensation is sought pursuant to 11 U.S.C. §§330(a), 331 and 503(a) and (b) and Rule
 7   2016(a), F.R.B.P. and in compliance with this Court's Order Authorizing Trustee to Employ Attorney, and
 8   the Guidelines of the Office of the U.S. Trustee for the District of Arizona.
 9                   5. Except as Attorney may be entitled to receive compensation herein, Attorney has no
10   arrangements with any other parties whatsoever to pay Attorney for the services of Attorney to the estate,
11   nor has Attorney received any funds from any parties whatsoever for the services rendered to the estate.
12   Additionally, Attorney has not made any arrangements to share any compensation received by Order of
13   this Court with any other party, nor does Attorney have arrangements for sharing of any compensation
14   herein awarded, except as are normally divided among members and/or associates of its firm.
15                   6. The names of all of Attorney's professionals and paraprofessionals, their billing code,
16   and the hourly rate charged by each is set forth below. Attorney charges its non-bankruptcy clients at the
17   same rate or higher for similar services. The rates charged are reasonable and are commensurate with fees
18   for similar services charged by certified bankruptcy specialists and other professionals of similar
19   experience in Phoenix, Arizona.
20
      Title             Name/Billing Code                            Hourly Rate(s)    Year Admitted to
21                                                                                         Practice
      Partner           Adam B. Nach (ABN/Partner)                   $345               1991
22    Associate         Kris R. McDonald (KRM/Associate)             $275               2007
      Paralegal         Danica Acosta (DA/Paralegal)                 $120                N/A
23
      Paralegal         Deb McKernan (DJM/Paralegal)                 $170                N/A
24
                     7. This Application is filed more than 120 days after the Order for relief and more than
25
     120 days after a prior application.
26
              B.     Case Status.
27
                     1. To the best of Attorney's information and belief, the approximate amount of cash on
28
                                                      2
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 1   hand or on deposit in this bankruptcy estate is $23,658.30.
 2
                     2. Attorney is not aware of any other requests for compensation pending before this Court.
 3
     To the best of Attorney's information and belief, there are no other approved and unpaid administrative
 4
     expenses other than those applied for herein.
 5
                     3. To the best of Attorney's information, there are no encumbered funds in the estate.
 6
                     4. Trustee anticipates that the Notice of Proposed Distribution should be submitted on or
 7
     before July, 2022.
 8
              C.     Project Summary.
 9
                     The following are the descriptions of the projects for which fees and expenses were
10
     incurred, all of which were necessary and benefited the estate, the number of hours spent and the amount
11
     of compensation requested for each professional and paraprofessional for each project.
12
                     1. Case Administration. As more fully set forth in Exhibit "A", Attorney has performed
13
     professional services with respect to the general administration of this bankruptcy estate. Time was incurred
14
     in communication and correspondence with the Trustee and others regarding the general status of the case
15
     and the various activities involved in the case. Time and attention was incurred in the review of Debtor’s
16
     statements and schedules filed with the Court. In connection with this subject area, Attorney expended a
17
     total of:
18
      Title                 Name                           Hourly Rate(s) Hours               Dollar Amount
19    Partner               Adam B. Nach                   $345            4.90                   $1,690.50
      Associate             Kris R. McDonald               $275            2.10                     $577.50
20
      Paralegal             Deb McKernan                   $170            0.70                     $119.00
21    TOTAL                                                                                       $2,387.00

22            As detailed on Exhibit "A", the costs for which Attorney seeks reimbursement total $5.40.
23                   2. Employment and Payment of Professionals. As more fully set forth in Exhibit "A",
24   Attorney has performed professional services with respect to the employment and payment of
25   professionals. In connection with this subject area, the following fees were incurred:
26
27
      Title                  Name                            Hourly             Hours           Dollar Amount
28                                                           Rate(s)
                                                    3
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 1    Partner               Adam B. Nach                    $345                  2.90             $1,000.50
 2    Associate             Kristofer McDonald              $275                  7.00             $1,925.00
      Paralegal             Danica Acosta                   $120                  2.00              $240.00
 3    Paralegal             Deb McKernan                    $170                  4.10              $697.00
      TOTAL                                                                                        $3,862.50
 4
                    3. Asset Analysis and Disposition. As more fully set forth in Exhibit "A", Attorney
 5
     reviewed and analyzed a personal injury claim and assisted with obtaining Court approval of a settlement
 6
     for the Estate pursuant to FRBP Rule 9019.. In connection with this subject area, Attorney expended a total
 7
     of:
 8
      Title                 Name                          Hourly Rate(s) Hours             Dollar Amount
 9    Partner               Adam B. Nach                  $345            0.30                   $103.50
      Associate             Kris R. McDonald              $275            5.00                 $1,375.00
10    Paralegal             Deb McKernan                  $170            2.40                   $408.00
      TOTAL                                                                                    $1,886.50
11
     III.   EVALUATION STANDARDS.
12
            A. Attorney certifies that it did, in fact, perform the services set forth herein and is entitled to
13
     compensation therefor and that performance of same has benefited the estate.
14
            B. Trustee has approved of the fees and costs sought herein.
15
     IV.    CONCLUSION.
16
            Based on the foregoing, Lane & Nach, P.C., respectfully requests that this Court enter its Order:
17
            A. Approving and authorizing payment of fees to Lane & Nach, P.C. in the sum of $8,136.00,
18
     through Trustee’s Final Report, for services provided herein for the period of August 31, 2020 through
19
     March 21, 2022; and,
20
            B. Approving and authorizing reimbursement of out-of-pocket expenses to Lane & Nach, P.C., in
21
     the sum of $5.40 incurred herein through Trustee's Final Report; and,
22
            C. For such other and further relief as this Court deems just and proper.
23
            RESPECTFULLY SUBMITTED this 22nd day of March, 2022.
24
                                                   LANE & NACH, P.C.
25
                                                   By      /s/ Adam B. Nach – 013622
26                                                         Adam B. Nach
                                                           Attorneys for Trustee
27

28
                                                   4
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 1   Copy of the foregoing delivered
     via electronic Court notification to:
 2
     Kenneth L. Neeley
 3   Neeley Law Firm, PLC
     1120 S. Dobson Rd., Ste. 230
 4   Chandler, AZ 85286
     Email: ecf@neeleylaw.com
 5
     Office of U.S. Trustee
 6   230 North First Avenue
     Phoenix, AZ 85003
 7   Email: Renee.S.Shamblin@usdoj.gov
     Email: ustpregion14.px.ecf@usdoj.gov
 8
     By     /s/ Danica Acosta
 9

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                                                    5
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            EXHIBIT “A”




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Date: 03/21/2022                                    Summary Fee Transaction File List                                          Page: 1
                                                         LANE & NACH, P.C.

                                                       Hours
                                                       to Bill        Amount
            Subtotal for Timekeeper 2    Billable        4.90        1,690.50 ADAM B. NACH


            Subtotal for Timekeeper 14   Billable        2.10          577.50 KRISTOFER R. MCDONALD


            Subtotal for Timekeeper 16   Billable        0.70          119.00 DEB MCKERNAN

Total for Category 101                   Billable        7.70        2,387.00 CASE ADMINISTRATION


            Subtotal for Timekeeper 2    Billable        2.90        1,000.50 ADAM B. NACH


            Subtotal for Timekeeper 12   Billable        2.00          240.00 DANICA ACOSTA


            Subtotal for Timekeeper 14   Billable        7.00        1,925.00 KRISTOFER R. MCDONALD


            Subtotal for Timekeeper 16   Billable        4.10          697.00 DEB MCKERNAN

Total for Category 102                   Billable      16.00         3,862.50 PROFESSIONAL EMPLOYMENT/ FEES


            Subtotal for Timekeeper 2    Billable        0.30          103.50 ADAM B. NACH


            Subtotal for Timekeeper 14   Billable        5.00        1,375.00 KRISTOFER R. MCDONALD


            Subtotal for Timekeeper 16   Billable        2.40          408.00 DEB MCKERNAN

Total for Category 104                   Billable        7.70        1,886.50 ASSET ANALYSIS & DISPOSITION

                                                             GRAND TOTALS

                                         Billable      31.40         8,136.00




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DLA                                                                                                           Monday 03/21/2022 8:53 am
                                           LANE & NACH, P.C.
                                            2001 E. Campbell Avenue
                                                   Suite 103
                                              PHOENIX, AZ 85016
                                           Telephone: (602) 258-6000
                                            Facsimile (602) 258-6003

                                                                                     TAX I.D. #XX-XXXXXXX

      STANLEY KARTCHNER
      7090 N. ORACLE RD #178-204                                       Statement Date:     March 21, 2022
      TUCSON, AZ 85704                                                   Statement No.             96808
                                                                           Account No.         11012.748
                                                                                                 Page: 1

      RE: GARCIA, RENE




                                                     Fees

                                                                                  Rate      Hours
08/28/2020      ABN   REVIEW AND RESPOND TO E-MAIL WITH ATTORNEY FOR
                      DEBTOR REGARDING PI; REVIEW AND RESPOND TO
                      E-MAIL WITH TRUSTEE REGARDING PI ACTION;
                      ATTENTION TO NEW CASE ISSUES.                             345.00        0.30          103.50

08/31/2020      KRM REVIEW FILE, SCHEDULES, DOCKET; EVALUATE AND
                    ASSESS ISSUES IN THE CASE.                                  275.00        0.50          137.50

09/01/2020      ABN   REVIEW NOTICE OF CLAIMS BAR DATE.                         345.00        0.10           34.50

09/21/2020      ABN   REVIEW FILE; CASE STATUS REPORT TO TRUSTEE.               345.00        0.30          103.50

12/21/2020      ABN   REVIEW FILE; CASE STATUS REPORT TO TRUSTEE.               345.00        0.30          103.50

02/17/2021      ABN   REVIEW FILE; CASE STATUS REPORT TO TRUSTEE.               345.00        0.20           69.00

05/20/2021      ABN   REVIEW FILE; CASE STATUS REPORT TO TRUSTEE.               345.00        0.20           69.00

06/30/2021      ABN   REVIEW AND RESPOND TO E-MAIL WITH TRUSTEE
                      REGARDING SETTLEMENT.                                     345.00        0.20           69.00

07/02/2021      ABN   REVIEW AND EXECUTE 9019 AND NOTICE OF OF THE 9019.        345.00        0.20           69.00

07/19/2021      KRM EDIT, REVIEW, REVISE DRAFT LETTER TO CREDITORS
                    REGARDING CASE ADMINISTRATION AND PROOFS OF
                    CLAIM.                                                      275.00        0.30           82.50

10/19/2021      ABN   REVIEW FILE; CASE STATUS REPORT TO TRUSTEE.               345.00        0.20           69.00

01/11/2022      ABN   REVIEW AND ANALYZE FILE; CLOSING MEMORANDUM TO
                      TRUSTEE.                                                  345.00        0.80          276.00
                ABN   REVIEW AND RESPOND TO E-MAIL WITH TRUSTEE
                      REGARDING ABANDONMENT OF PROCEEDS.                        345.00        0.20           69.00




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      STANLEY KARTCHNER                                                                           03/21/2022
                                                                                Account No:       11012-748
                                                                              Statement No:           96808
      GARCIA, RENE


                                                                              Rate       Hours

01/27/2022      KRM ANALYZE ISSUE REGARDING CASE CLOSURE BASED ON
                    DIFFERENCE BETWEEN AMOUNTS ON HAND AND GROSS
                    SETTLEMENT AMOUNT IN 9019 ORDER.                        275.00        0.30         82.50

01/28/2022      KRM REVIEW AND ANALYZE FILE REGARDING ABANONMENT
                    OF PROPERTY.                                            275.00        0.40       110.00
                KRM DRAFT NOTICE OF ABANDONMENT OF BALANCE OF NET
                    SETTLEMENT PROCEEDS.                                    275.00        0.30         82.50
                ABN REVIEW AND RESPOND TO E-MAIL WITH TRUSTEE
                    REGARDING ABANDONMENT.                                  345.00        0.10         34.50

01/31/2022      ABN   REVIEW, REVISE AND EDIT ABANDONMENT NOTICE;
                      REVIEW AND RESPOND TO E-MAIL WITH TRUSTEE
                      REGARDING SAME.                                       345.00        0.20         69.00
                ABN   REVIEW FILE; REVIEW EMAILS; EVALUATE CHANGES TO
                      ABANDONMENT; TELEPHONE CONFERENCE WITH
                      TRUSTEE REGARDING ABANDONMENT; REVIEW, REVISE
                      AND EDIT ABANDONMENT PER TRUSTEE.                     345.00        0.60       207.00

02/01/2022      DJM   FINALIZE AND FILE NOTICE OF TRUSTEE'S INTENT TO
                      ABANDON PROPERTY; SERVE COPIES OF THE SAME VIA
                      EMAIL.                                                170.00        0.20         34.00
                ABN   REVIEW AND EXECUTE NOTICE OF ABANDONMENT.             345.00        0.10         34.50

02/04/2022      ABN   REVIEW BNC CERTIFICATE OF SERVICE REGARDING
                      ABANDONMENT.                                          345.00        0.10         34.50
                DJM   DOWNLOAD AND SAVE BNC; CALENDAR DEADLINE TO
                      OBJECT TO NOTICE OF TRUSTEE'S INTENT TO ABANDON
                      PROPERTY.                                             170.00        0.10         17.00

02/22/2022      KRM EDIT, REVIEW, REVISE DRAFT CERTIFICATE OF NO
                    OBJECTION AND ORDER APPROVING ABANDONMENT.              275.00        0.30         82.50

02/23/2022      DJM   REVIEW COURT DOCKET FOR OBJECTIONS; PREPARE
                      CERTIFICATE OF NO OBJECTION AND PROPOSED
                      ABANDONMENT ORDER.                                    170.00        0.40         68.00

03/21/2022      ABN   ATTENTION TO CLOSING CASE ISSUES.                     345.00        0.80       276.00
                      CASE ADMINISTRATION                                                 7.70      2,387.00

08/31/2020      DLA REVIEW FILE FOR CONFLICTS; PREPARATION OF
                    APPLICATION TO EMPLOY ATTORNEY FOR TRUSTEE,
                    ATTORNEY DISINTERESTEDNESS DECLARATION AND
                    FORM OF ORDER; ELECTRONIC COURT FILING.                 120.00        1.00       120.00
                KRM EMAIL CORRESPONDENCE WITH DEBTOR'S COUNSEL
                    REGARDING EMPLOYMENT IN THE CASE.                       275.00        0.10         27.50
                ABN REVIEW APPLICATION TO EMPLOY AND ORDER; REVIEW
                    FILE FOR CONFLICTS.                                     345.00        0.40       138.00

09/02/2020      KRM DRAFT EMAIL TO PROSPECTIVE SPECIAL COUNSEL
                    REGARDING THE BANKRUPTCY AND THE PROCEDURES
                    FOR EMPLOYMENT OF SPECIAL COUNSEL AND
                    OBTAINING COURT APPROVAL FOR THE SETTLEMENT.            275.00        0.30         82.50
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      STANLEY KARTCHNER                                                                          03/21/2022
                                                                                Account No:      11012-748
                                                                              Statement No:          96808
      GARCIA, RENE


                                                                             Rate       Hours

09/09/2020      KRM REVIEW AND RESPOND TO EMAIL FROM SPECIAL
                    COUNSEL REGARDING EMPLOYMENT AND FEE SPLIT.             275.00       0.20         55.00
                KRM TELEPHONE CONFERENCE WITH SPECIAL COUNSEL
                    REGARDING EMPLOYMENT OF ADDITIONAL FIRMS.               275.00       0.20         55.00

09/17/2020      KRM REVIEW CORRESPONDENCE, DRAFT EMAIL TO SPECIAL
                    COUNSEL REGARDING STATUS OF EMPLOYMENT
                    DOCUMENTS.                                              275.00       0.20         55.00

09/23/2020      KRM REVIEW FILE, CONTINUE TO STRATEGIZE REGARDING
                    EMPLOYMENT OF SPECIAL COUNSEL IN LIGHT OF
                    INFORMATION PROVIDED REGARDING PLAINTIFF'S
                    STEERING COMMITTEE.                                     275.00       0.40       110.00
                DJM DRAFT TRUSTEE'S APPLICATION TO EMPLOY SPECIAL
                    COUNSEL ON A CONTINGENCY FEE BASIS                      170.00       1.20       204.00
                KRM BEGIN TO EDIT, REVIEW, REVISE DRAFT APPLICATION TO
                    EMPLOY SPECIAL COUNSEL.                                 275.00       0.40       110.00

09/25/2020      DJM DRAFT DECLARATIONS OF SPECIAL COUNSEL FOR
                    ATTORNEY REVIEW AND REVISION.                           170.00       0.50         85.00
                KRM EDIT, REVIEW, REVISE DECLARATIONS OF SPECIAL
                    COUNSEL AND STRATEGIZE REGARDING EMPLOYMENT.            275.00       0.30         82.50
                DJM PREPARE PROPOSED ORDER APPROVING TRUSTEE'S
                    APPLICATION TO EMPLOY SPECIAL COUNSEL ON A
                    CONTINGENCY FEE BASIS.                                  170.00       0.30         51.00
                KRM EDIT, REVIEW, REVISE ORDER REGARDING SPECIAL
                    COUNSEL.                                                275.00       0.20         55.00

09/28/2020      KRM REVIEW AND RESPOND TO EMAIL FROM SPECIAL
                    COUNSEL REGARDING CORRECTIONS AS TO PROPOSED
                    FEE SPLIT AND FIRMS TO EMPLOY.                          275.00       0.30         82.50
                DJM REVIEW SPECIAL COUNSEL'S EMAIL AND REVISION
                    TRUSTEE'S APPLICATION TO EMPLOY SPECIAL COUNSEL
                    ON A CONTINGENCY FEE BASIS; DECLARATIONS SPECIAL
                    COUNSEL; DECLARATIONS AND PROPOSED FORM OF
                    ORDER.                                                  170.00       0.40         68.00
                KRM EDIT, REVIEW, REVISE DRAFT APPLICATION TO EMPLOY
                    SPECIAL COUNSEL, DECLARATIONS, AND PROPOSED
                    ORDER, IN LIGHT OF NEW INFORMATION PROVIDED BY
                    JEFFREY GLASSMAN, LLC.                                  275.00       0.30         82.50

10/09/2020      KRM DRAFT MEMORANDUM TO FILE REGARDING
                    EMPLOYMENT OF SPECIAL COUNSEL.                          275.00       0.30         82.50
                ABN REVIEW AND RESPOND TO E-MAIL WITH TRUSTEE
                    REGARDING EMPLOYMENT OF SPECIAL COUNSEL.                345.00       0.20         69.00

10/13/2020      KRM DRAFT EMAIL TO SPECIAL COUNSEL REGARDING DRAFT
                    APPLICATION TO EMPLOY AND NEXT STEPS.                   275.00       0.20         55.00

10/21/2020      KRM RECEIPT AND REVIEW OF SIGNED SPECIAL COUNSEL
                    DECLARATIONS, FINALIZE DRAFT APPLICATION TO
                    EMPLOY AND PROPOSED ORDER.                              275.00       0.30         82.50

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      STANLEY KARTCHNER                                                                          03/21/2022
                                                                                Account No:      11012-748
                                                                              Statement No:          96808
      GARCIA, RENE


                                                                             Rate       Hours
                DJM   FINALIZE AND FILE TRUSTEE'S APPLICATION TO EMPLOY
                      SPECIAL COUNSEL ON A CONTINGENCY FEE BASIS AND
                      DECLARATIONS SPECIAL COUNSEL; LODGE PROPOSED
                      FORM OF ORDER; FILE NOTICE OF LODGING PROPOSED
                      ORDER.                                                170.00       0.30         51.00
                ABN   REVIEW AND EXECUTE APPLICATION TO EMPLOY
                      SPECIAL COUNSEL.                                      345.00       0.10         34.50

10/22/2020      KRM REVIEW ORDER APPROVING EMPLOYMENT OF SPECIAL
                    COUNSEL AND EMAIL SAME TO SPECIAL COUNSEL ALONG
                    WITH EXPLANATION OF THE NEXT STEPS.                     275.00       0.20         55.00

11/04/2020      KRM REVIEW AND RESPOND TO EMAIL FROM SPECIAL
                    COUNSEL REGARDING DEBTOR'S OBJECTION TO
                    EMPLOYMENT.                                             275.00       0.20         55.00
                KRM RECEIPT AND REVIEW OF DEBTOR'S OBJECTION TO
                    EMPLOYMENT OF SPECIAL COUNSEL.                          275.00       0.40       110.00

11/05/2020      KRM TELEPHONE CALL FROM DEBTOR'S COUNSEL
                    REGARDING PENDING OBJECTION.                            275.00       0.20         55.00
                KRM EMAIL CORRESPONDENCE WITH SPECIAL COUNSEL
                    REGARDING PENDING OBJECTION TO EMPLOYMENT.              275.00       0.20         55.00

11/06/2020      KRM TELEPHONE CALL FROM SPECIAL COUNSEL REGARDING
                    DEBTOR'S PENDING OBJECTION TO EMPLOYMENT AND
                    STATUS OF RELATED CASE LAW.                             275.00       0.20         55.00

11/17/2020      KRM RECEIPT AND REVIEW OF ORDER TO SHOW CAUSE
                    REGARDING DEBTOR'S MOTION FOR RECONSIDERATION.          275.00       0.20         55.00
                KRM DRAFT EMAIL TO DEBTOR'S COUNSEL REGARDING
                    ORDER TO SHOW CAUSE.                                    275.00       0.10         27.50
                KRM EMAIL CORRESPONDENCE WITH SPECIAL COUNSEL
                    REGARDING ORDER TO SHOW CAUSE.                          275.00       0.10         27.50
                ABN REVIEW AND RESPOND TO E-MAIL WITH TRUSTEE
                    REGARDING ORDER TO SHOW CAUSE AND SPECIAL
                    COUNSEL.                                                345.00       0.20         69.00

11/24/2020      DJM PREPARE STIPULATION TO EXTEND THE DEADLINE FOR
                    TRUSTEE TO FILE A RESPONSE TO DEBTOR'S MOTION TO
                    RECONSIDER AND PROPOSED FORM OF ORDER.                  170.00       0.50         85.00
                KRM EDIT, REVIEW, REVISE DRAFT STIPULATION TO EXTEND
                    TRUSTEE'S ANSWERING DEADLINE AND PROPOSED
                    ORDER IN SUPPORT.                                       275.00       0.40       110.00

11/25/2020      DJM   FINALIZE AND FILE STIPULATION TO EXTEND
                      THE DEADLINE FOR TRUSTEE TO FILE A RESPONSE TO
                      DEBTOR'S MOTION TO RECONSIDER, AS SET FORTH IN
                      THE COURT'S ORDER TO SHOW CAUSE DATED
                      NOVEMBER 16, 2020 [DKT. 31]; LODGE PROPOSED FORM
                      OF ORDER; FILE NOTICE OF LODGING PROPOSED ORDER.      170.00       0.20         34.00
                ABN   REVIEW AND EXECUTE STIPULATION TO EXTEND TIME TO
                      RESPOND TO MOTION TO RECONSIDER.                      345.00       0.10         34.50



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      STANLEY KARTCHNER                                                                          03/21/2022
                                                                                Account No:      11012-748
                                                                              Statement No:          96808
      GARCIA, RENE


                                                                             Rate       Hours

12/21/2020      KRM DRAFT EMAIL TO DEBTOR'S COUNSEL REGARDING
                    RESOLUTION OF DISPUTE WITH SPECIAL COUNSEL.             275.00       0.20         55.00

01/21/2021      DJM PREPARE SECOND STIPULATION TO EXTEND THE
                    DEADLINE FOR TRUSTEE TO FILE A RESPONSE TO
                    DEBTOR'S MOTION TO RECONSIDER AND PROPOSED
                    FORM OF ORDER.                                          170.00       0.30         51.00
                KRM EDIT, REVIEW, REVISE DRAFT SECOND STIPULATION TO
                    EXTEND ANSWERING DEADLINE TO ORDER TO SHOW
                    CAUSE AND FORM OF ORDER.                                275.00       0.20         55.00
                KRM DRAFT EMAIL TO DEBTOR'S COUNSEL REGARDING
                    REGARDING DRAFT STIPLUATION.                            275.00       0.20         55.00

01/22/2021      DJM   FINALIZE AND FILE SECOND STIPULATION TO EXTEND
                      THE DEADLINE FOR TRUSTEE TO FILE A RESPONSE TO
                      DEBTOR'S MOTION TO RECONSIDER; LODGE PROPOSED
                      FORM OF ORDER; FILE NOTICE OF LODGING PROPOSED
                      ORDER.                                                170.00       0.20         34.00
                ABN   REVIEW AND EXECUTE 2ND STIPULATION.                   345.00       0.10         34.50

01/25/2021      DJM   DOWNLOAD AND SAVE SIGNED ORDER APPROVING
                      STIPULATION TO EXTEND THE DEADLINE FOR TRUSTEE
                      TO FILE A RESPONSE; CALENDAR DEADLINE TO FILE A
                      RESPONSE.                                             170.00       0.20         34.00

02/23/2021      KRM RECEIPT AND REVIEW OF DRAFT 9019 MOTION.                275.00       0.30         82.50
                KRM DRAFT MEMORANDUM TO FILE REGARDING PROPOSE
                    9019 TERMS.                                             275.00       0.20         55.00

03/01/2021      ABN   REVIEW AND ANALYZE DEBTOR'S AGREEMENT WITH
                      SPECIAL COUNSEL; REVIEW AND RESPOND TO E-MAIL
                      WITH TRUSTEE REGARDING SAME.                          345.00       0.30       103.50

03/02/2021      ABN   REVIEW AND RESPOND TO E-MAIL WITH TRUSTEE
                      REGARDING AGREEMENT BETWEEN DEBTOR AND
                      SPECIAL COUNSEL.                                      345.00       0.20         69.00

03/08/2021      ABN   REVIEW FILED 9019 WITH DEBTOR AND SPECIAL
                      COUNSEL; REVIEW NOTICE.                               345.00       0.30       103.50

06/07/2021      ABN   REVIEW ORDER GRANTING DEBTOR'S 9019.                  345.00       0.10         34.50

03/21/2022      DLA   FINALIZE TRUSTEE ATTORNEY FEE APPLICATION AND
                      RELATED DOCUMENTS.                                    120.00       1.00       120.00
                ABN   REVIEW, REVISE AND EDIT INVOICES TO COMPLY WITH
                      UST GUIDELINES; REVIEW, REVISE AND EDIT FEE
                      APPLICATION.                                          345.00       0.90       310.50
                      PROFESSIONAL EMPLOYMENT/ FEES                                     16.00      3,862.50

03/02/2021      KRM EMAIL CORRESPONDENCE WITH DEBTOR'S COUNSEL
                    REGARDING 9019 DRAFT.                                   275.00       0.20         55.00


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      STANLEY KARTCHNER                                                                          03/21/2022
                                                                                Account No:      11012-748
                                                                              Statement No:          96808
      GARCIA, RENE


                                                                             Rate       Hours

04/19/2021      KRM REVIEW AND RESPOND TO EMAIL FROM SPECIAL
                    COUNSEL REGARDING MEDICAL LIENS.                        275.00       0.20         55.00

06/07/2021      KRM DRAFT EMAIL TO SPECIAL COUNSEL REGARDING STATUS
                    OF INJURY CLAIM IN LIGHT OF APPROVAL OF
                    SETTLEMENT REGARDING ATTORNEY FEES AND COSTS.           275.00       0.20         55.00

06/14/2021      KRM REVIEW AND RESPOND TO EMAIL FROM SPECIAL
                    COUNSEL REGARDING STATUS OF SETTLEMENT OF
                    PAYMENT.                                                275.00       0.20         55.00

06/21/2021      KRM DRAFT EMAIL TO SPECIAL COUNSEL REQUESTING
                    UPDATED SETTLMENT STATEMENT.                            275.00       0.20         55.00

06/22/2021      KRM DRAFT MEMORANDUM TO FILE REGARDING TERMS OF
                    SETTLEMENT.                                             275.00       0.30         82.50

06/30/2021      DJM BEGIN DRAFT OF TRUSTEE'S MOTION TO COMPROMISE A
                    CLAIM OF THE ESTATE AND COMPENSATE SPECIAL
                    COUNSEL
                    ON A CONTINGENCY FEE BASIS.                             170.00       1.10       187.00
                KRM ASSESS ISSUE REGARDING POTENTIAL PAYMENT OF MDL
                    FEE.                                                    275.00       0.20         55.00

07/01/2021      KRM EDIT, REVIEW, REVISE DRAFT 9019 MOTION.                 275.00       0.50       137.50
                DJM PREPARE NOTICE OF TRUSTEE'S MOTION TO
                    COMPROMISE A CLAIM OF THE ESTATE AND
                    COMPENSATE SPECIAL COUNSEL
                    ON A CONTINGENCY FEE BASIS.                             170.00       0.30        51.00
                KRM EDIT, REVIEW, REVISE DRAFT NOTICE OF 9019 MOTION.       275.00       0.30        82.50
                KRM REVIEW FILE REGARDING DRAFTING 9019.                    275.00       0.40       110.00

07/02/2021      DJM   FINALIZE AND FILE TRUSTEE'S MOTION TO COMPROMISE
                      A CLAIM OF THE ESTATE AND COMPENSATE SPECIAL
                      COUNSEL
                      ON A CONTINGENCY FEE BASIS AND NOTICE OF BAR
                      DATE.                                                 170.00       0.20         34.00

07/05/2021      ABN   REVIEW BNC CERTITFACTE OF SERVICE REGARDING
                      9019.                                                 345.00       0.10         34.50

07/06/2021      DJM   DOWNLOAD AND SAVE BNC; CALENDAR DEADLINE TO
                      OBJECT TO TRUSTEE'S MOTION TO COMPROMISE A
                      CLAIM OF THE ESTATE AND COMPENSATE SPECIAL
                      COUNSEL
                      ON A CONTINGENCY FEE BASIS.                           170.00       0.10         17.00

08/09/2021      DJM   PREPARE CERTIFICATE OF NO OBJECTION AND
                      PROPOSED ORDER APPROVING TRUSTEE'S MOTION TO
                      COMPROMISE A CLAIM OF THE ESTATE AND
                      COMPENSATE SPECIAL COUNSEL ON A CONTINGENCY
                      FEE BASIS                                             170.00       0.50         85.00

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      STANLEY KARTCHNER                                                                                    03/21/2022
                                                                                           Account No:     11012-748
                                                                                         Statement No:         96808
      GARCIA, RENE


                                                                                        Rate     Hours

08/10/2021      KRM EDIT, REVIEW, REVISE DRAFT CERTIFICATE OF NO
                    OBJECTION AND ORDER APPROVING 9019 MOTION.                         275.00      0.40       110.00

08/11/2021      DJM   FINALIZE AND FILE CERTIFICATE OF NO OBJECTION;
                      LODGE PROPOSED ORDER APPROVING TRUSTEE'S
                      MOTION TO COMPROMISE A CLAIM OF THE ESTATE AND
                      COMPENSATE SPECIAL COUNSEL ON A CONTINGENCY
                      FEE BASIS; FILE NOTICE OF LODGING PROPOSED ORDER.                170.00      0.20         34.00
                ABN   REVIEW AND EXECUTE CERTIFICATE OF NO OBJECTION;
                      REVIEW AND EXECUTE LODGING JUDGMENT.                             345.00      0.20         69.00

08/16/2021      KRM DRAFT EMAIL TO SPECIAL COUNSEL REGARDING
                    APPROVAL OF SETTLEMENT AND PAYMENT
                    INSTRUCTIONS.                                                      275.00      0.20         55.00

09/15/2021      KRM REVIEW FILE, EVALUATE AND ASSESS STATUS OF
                    RELEASE OF SETTLEMENT FUNDS.                                       275.00      0.20         55.00

10/15/2021      KRM EMAIL CORRESPONDENCE WITH SPECIAL COUNSEL
                    REGARDING STATUS OF SETTLEMENT FUNDS AND
                    RELEASE.                                                           275.00      0.20         55.00

01/03/2022      KRM REVIEW AND RESPOND TO EMAIL FROM SPECIAL
                    COUNSEL REGARDING STATUS OF DISTRIBUTION OF
                    PROCEEDS.                                                          275.00      0.20         55.00

01/10/2022      KRM REIVEW 9019 ORDER AND EMAIL FROM SPECIAL
                    COUNSEL; ANALYZE ISSUE REGARDING CHANGE IN LIEN
                    AMOUNTS, EXPENSES AND MDL FEE.                                     275.00      0.40       110.00

01/11/2022      KRM DRAFT MEMORANDUM TO FILE REGARDING POTENTIAL
                    AMENDMENT OF 9019 ORDER AND PROPOSED PARTIAL
                    DISTRIBUTION.                                                      275.00      0.30         82.50

01/13/2022      KRM DRAFT EMAIL TO SPECIAL COUNSEL REGARDING PARTIAL
                    DISTIRBUTION.                                                      275.00      0.20         55.00

01/20/2022      KRM REVIEW AND RESPOND TO EMAIL FROM SPECIAL
                    COUNSEL REGARDING ISSUANCE OF CHECK.                               275.00      0.20         55.00
                      ASSET ANALYSIS & DISPOSITION                                                 7.70      1,886.50

                      For Current Services Rendered                                               31.40      8,136.00

                                                      Recapitulation
                Timekeeper                                          Hours       Rate           Total
                ADAM B. NACH                                          8.10   $345.00       $2,794.50
                DANICA ACOSTA                                         2.00    120.00          240.00
                KRISTOFER R. MCDONALD                                14.10    275.00        3,877.50
                DEB MCKERNAN                                          7.20    170.00        1,224.00




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      STANLEY KARTCHNER                                                                            03/21/2022
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      GARCIA, RENE


                                                     Expenses

03/16/2022           PACER FEE                                                                           5.40
                     Total Expenses                                                                      5.40

                     Total Current Work                                                              8,141.40


                     Balance Due                                                                    $8,141.40




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